              Case 2:24-cv-00568-CB       Document 16-4          Filed 05/06/25   Page 1 of 9




Email: raypatricia@yahoo.com
 Attorney for Plaintiff

                                 UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF PENNSYLVANIA


 NINGBO BONNY E-HOME CO.,                        Case No. 2:24-cv-00568
 LTD., a corporation of China

                 Plaintiff,
 v.


 ONDWAY, POOLCLEAN US
 STORE, USA WAREHOUSE,
 BOWANJIE, INPOOL US STORE,
 DEWFOND, DIGIGER,
 MOTOBUDDY STORE, and et al.
 Individual, Partnerships
                  Defendants.




       DECLARATION OF HONG CHUAN ZHANG IN SUPPORT OF PLAINTIF’S
       APPLICATION FOR ENTRY OF A TEMPORARY RESTRAINING ORDER
       AND PRELIMINARY INJUNCTION

        I, HONG CHUAN ZHANG, do hereby declare:
       1. I am over eighteen (18) years of age. I have never been convicted of a felony or
       any criminal offense involving moral turpitude, and I am fully competent to testify
       to the matters stated herein. I have personal knowledge of every statement made in
       this Declaration and such statements are true and correct.

       2. I am the President and owner of NINGBO BONNY E-HOME CO., LTD., a
       corporation of China and the Plaintiff in this case of infringement.




       Declaration in Support of Motion for TRO and Injunction
      Case 2:24-cv-00568-CB        Document 16-4          Filed 05/06/25   Page 2 of 9




3. I make this declaration in support of Plaintiff’s Application for Entry of a
Temporary Restraining Order and Preliminary Injunction against Defendants.

4. The Defendants use the interactive commercial Internet websites and Internet
based e-commerce stores including the Amazon Marketplace (“Online using the
seller identities, product names and store names set forth in Exhibits 2-9 of the
Complaint”.

5. I founded NINGBO BONNY E-HOME CO., LTD LLC (“NINGBO BONNY”
or “Plaintiff”) in China which makes pool brushes with a very unique design which
was patented at the United States Patent and Trademark Office as Design Patent
No. D985,947. This design was used to create products and packaging using
costly industrial design and tooling. A large amount of cost was involved in
creating a prototype with high quality for consumers. Today, our design is well
known and recognized for its quality.

6. Our pool brush product is called Pool Brush Head with Detachable Round Brush
and my company has spent substantial resources in advertising it and establishing
it as a legitimate product which owners like to buy on the Internet for use in the
warm months to clean their pools.

7. Over the past several years, visibility on the Internet, particularly via Internet
search engines such as Google, Yahoo!, and Bing have become increasingly
important to Ningo Bonny’s overall marketing. For the patented Pool Brush Head,
Ningbo Bonny has spent more than a million dollars in marketing and advertising.
In addition, Ningbo Bonny and its authorized distributors expend significant
monetary resources on Internet marketing, including search engine optimization
(“SEO”) strategies. Other costs include print catalog ads, trade shows, and handing
out free samples. These strategies allow its authorized retailers to fairly and
legitimately educate consumers about the value associated with our company.

8. Unlike our company, Defendants have avoided any of these costs of design and
of product development. Instead of spending money on the design and
development of a pool brush, Defendants have copied our legitimate, patented
design and placed them for sale on Amazon and other individual seller’s stores.

Declaration in Support of Motion for TRO and Injunction
      Case 2:24-cv-00568-CB        Document 16-4          Filed 05/06/25   Page 3 of 9




Defendants then wrongly index their products and stores on search engines and
compete directly with Ningo Bonny for space in the search results.

9. Due to the success of Ningbo Bonny excellent product design, we have become
the target of multiple infringers seeking to profit by copying the registered patented
design.

10. Plaintiff has been forced to police the Amazon marketplace and other various
Internet marketplaces to identify and seek takedowns of unlawful listings for the
Infringing Products since allowing the unlawful listings to continue is causing
damage to our bottom line. Some Defendants sell their fake pool brushes at a
fraction of Plaintiff’s price.

11. The nature of the software Amazon and various Internet Marketplaces is to sort
the lowest priced items to the top which means that Ningo Bonny’s legitimate
product, which is priced to reflect its costs, may be ignored.

12. Another major problem with the Internet Marketplaces is that there is a direct
and convenient connection between various Chinese and other unidentified
manufactures to the Infringing Products. In essence, a counterfeiter in Vietnam or
Russia, for example, may order a crate of Infringing Products from a Chinese
manufacturer, have them drop shipped to a fulfillment center in the United States,
and then sell the Infringing Products to a US consumer through a Third-Party
Service Provider. The ease of this system encourages knockoffs to flourish.

13. For these reasons, Plaintiff retained the legal counsel of RayChan IP Law firm,
108 N Ynez Ave #213, Monterey Park, CA 91754 to pursue Defendants. (“the
RayChan IP firm”) and to help in the policing on Amazon marketplace and other
various Internet marketplaces. During the process, the RayChan IP firm identified
many Chinese manufacturers operating on Marketplace Storefronts hosted by the
Internet marketplaces. These manufacturers were supplying many of the other
identified Defendants with infringing products flooding the Internet marketplaces
and damaging our business.




Declaration in Support of Motion for TRO and Injunction
      Case 2:24-cv-00568-CB        Document 16-4          Filed 05/06/25   Page 4 of 9




14.This damage to our business will continue unless we receive the sought after
restraining order and injunctive relief.

15. Defendants’ sales, distribution, and advertising of the Infringing Product are
highly likely to cause consumers to believe that Defendants are offering genuine
versions of our product when they are not.

16. In sum. Defendants are selling pool brushes that infringe my company’s design
patent by offer and sale of unauthorized infringing products that damaged our
business and severely reduced revenues. Defendants’ sales of infringing products
have damaged our business and have experienced reduced revenues that I attribute
to the infringing products being sold on the market.

17. I provided my lawyers with evidence of the reduced revenues and the need to
stop those sales. Attached is a spreadsheet of summary of defendants infringing
sales on Amazon.com of the infringing products that I prepared from internet
research.

18. The best evidence of damage from copying is the reduced revenues my
company has received which I believe can be attributed to the copycats and their
aggressive marketing in trying to imitate and get involved unfairly internet
searching to fool the customer about the copies being a legitimate product.

19. I have attached to this declaration, a summary of my company’s reduced
revenues which shows the plight of a company such as mine that has a successful
product based on a registered, patented design, but that success has caused copying
those damages legitimate income quality that Plaintiff’s Products have earned.

20. Defendants do not have, nor have they ever had, the right or authority to use
our patented design for any purpose. Defendants’ unlawful activities have deprived
and continue to deprive Plaintiff of their rights to fair competition. By their
activities, Defendants are defrauding Plaintiff and the consuming public for
Defendants’ benefit.




Declaration in Support of Motion for TRO and Injunction
      Case 2:24-cv-00568-CB        Document 16-4          Filed 05/06/25   Page 5 of 9




21. Defendants should not be permitted to continue their unlawful activities, which
are causing Plaintiff ongoing irreparable harm. Accordingly, Plaintiff is seeking
entry of a temporary restraining order prohibiting Defendants’ infringement of the
Plaintiff.

22. Given Defendants’ copying and therefore infringement in violation of patent
law, the Infringing Products are indistinguishable to consumers, both at the point
of sale and post-sale. By using Plaintiff’s intellectual property, Defendants have
created a false association between their Infringing Products, their Internet e-
commerce stores, and Plaintiff. Plaintiff’s IP by creating the impression that
infringement may be undertaken with impunity which threatens Plaintiff’s ability
to attract investors and markets for Plaintiff’s Products.

23. I have reviewed Exhibits 2-9 of the Complaint and the indicated web listings
and upon my information and belief, the Defendants named in this case are
currently manufacturing, importing, exporting, advertising, marketing, promoting,
distributing, displaying, offering for sale and or/selling non genuine, infringing
versions of Plaintiff’s Product and illegally using the registered design in a matter
which is confusing to consumers and the Defendants are putting for sale online
products which are illegal non-genuine, copies of Plaintiff’s Product directed to
U.S. consumers, including those consumers in Pennsylvania, through their Amazon
and other e-commerce stores.

24. None of the identified Defendants are authorized re-sellers of genuine versions
of Plaintiff’s Product. Moreover, none of the identified Defendants are authorized
to manufacture, import, export, advertise, offer for sale or sell Plaintiff’s Products.
Ningo Bonny has never consented or granted permission to any of the identified
Defendants to use Plaintiff’s Design.

25. I have confirmed that all of the identified products pictured in Complaint
Exhibits 2-9 are infringements of Plaintiff’s rights.

26. Upon information and belief, the Defendants in this were and/or are currently
manufacturing, importing, exporting, advertising, marketing, promoting,
distributing, displaying, offering for sale and/or selling infringing and unfairly

Declaration in Support of Motion for TRO and Injunction
      Case 2:24-cv-00568-CB        Document 16-4          Filed 05/06/25   Page 6 of 9




competing products which copies and infringes Plaintiff’s rights by selling online
to sell to U.S. consumers, including those consumers in Pennsylvania, through
their Amazon and other Online Marketplace Storefronts.

27. Through visual inspection of Defendants’ listings for Infringing Products, it
was confirmed that each Defendant is featuring, displaying Plaintiffs patented
design, without authorization and that the products that each Defendant is offering
infringing versions of the Plaintiff’s Product. The checkout pages or order forms
for the Infringing Products confirm that each Defendant was and/or is still
currently offering for sale and/or selling Infringing Products through their
respective Amazon or other Merchant Storefronts and User Accounts and that each
Defendant provides shipping and/or has actually shipped Infringing products to the
United States.

28. A shipping address located in Western District of Pennsylvania verified that
each Defendant provides shipping to the Pennsylvania Address.

29. I inspected the detailed web listings describing the Infringing Products that
Defendants are offering for sale through the Internet based e-commerce stores
operating under each of their respective Seller IDs, and determined the products
were not genuine versions of Plaintiff’s Product. Further, each of the Defendant’s
web listing infringes on the Plaintiff’s Work. Finally, each individual Defendant’s
product that was received was physically examined and confirmed not to be
authentic.

30. Defendants’ actions have caused and will continue to cause, in the event the
requested relief is not granted, irreparable harm to Plaintiff’s goodwill and
reputation as well as to the unassuming consumers who will continue to believe
that the Defendants’ infringing products are produced, authorized, approved,
endorsed or licensed by Plaintiff, when they are not.

31. Defendants’ intentional and illegal conduct, including offering for sale and
selling inferior infringing and knock-offs into the U.S. and the Commonwealth of
Pennsylvania has caused lost profits to Plaintiff and damaged the inherent value of
Plaintiff’s business and the Plaintiff’s patented design as well as impeding

Declaration in Support of Motion for TRO and Injunction
      Case 2:24-cv-00568-CB        Document 16-4          Filed 05/06/25   Page 7 of 9




Plaintiff’s ability to attract new customers and business. Defendants are willing
and in bad faith infringing Plaintiff’s rights, thereby unjustly profiting from such
activities at Plaintiff’s expense.

32. All of the injuries and damages described above are taking place in the United
States, including in Pittsburgh, Allegheny County, Pennsylvania.

33. In addition to trying to stop the injuries and damage caused to our business,
Plaintiff is also seeking in this lawsuit to protect consumers from being exposed to
and purchasing the infringing products that wrongly use Plaintiff’s rights.

34. I have worked with the RayChan IP law firm to assist them in identifying
infringing products and have provided them with various leads in order to find
the various outlets for the infringing and knock-off products. If called upon by
the Court, I can explain how the products were examined to determine
infringement and the extent which these unauthorized copies are causing
damage to business of the products with legitimate design.
 I declare under penalty of perjury that the foregoing is true and correct.

Executed at Ningo, China, April 16, 2025




              _____________________________________
              Hong Chuan Zhang, President Ningbo Bonny E-Home Co, Ltd.




Declaration in Support of Motion for TRO and Injunction
      Case 2:24-cv-00568-CB        Document 16-4          Filed 05/06/25   Page 8 of 9




Declaration in Support of Motion for TRO and Injunction
      Case 2:24-cv-00568-CB        Document 16-4          Filed 05/06/25   Page 9 of 9




Declaration in Support of Motion for TRO and Injunction
